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Attorney for Plaintiffs CLERK

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY (NEWARK)

 

PHILLIP C. ENGERS, WARREN J. MCFALL :
DONALD G. NOERR, and GERALD SMIT
individually and on behalf of all others

similarly situated,

Plaintiffs,
v. : 98-CV-3660 (NHP)
: THIRD AMENDED CLASS
AT&T and AT&T MANAGEMENT : ACTION COMPLAINT with
PENSION PLAN, : DEMAND FOR JURY TRIAL
Defendants.

 

THIRD AMENDED CLASS ACTION COMPLAINT
AND DEMAND FOR JURY TRIAL

Plaintiffs, complaining of the Defendants, aver:
ADDRESSES OF NAMED PARTIES
lL. The Plaintiffs’ addresses are:
Phillip C. Engers

3607 My Ladys View Ct.
Monkton, MD 21111-1920

Warren J. McFall
12 Wilshire Run
Scotch Plains, NJ 07076-2841

 

 

 
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Donald G. Noerr
718 Coleman Place
Westfield, NJ 07090-4315
Gerald Smit
14 Sarah Court
Bridgewater, NJ 08807
2. The Defendants’ addresses are:
AT&T Corp.
295 North Maple Avenue
Basking Ridge, NJ 07920
AT&T Management Pension Plan
East Tower, Room 821
One Speedwell Avenue
P.O, Box 1954
Morristown, NJ 07962-1954
JURISDICTION AND VENUE

3. Plaintiffs invoke the jurisdiction of this Court pursuant to the Employee
Retirement Income Security Act of 1974 as amended, and the Age Discrimination in
Employment Act of 1967 as amended.

4, Venue is proper in this Court in that two of the Plaintiffs reside in this
District and the Defendants reside or may be found in this District. The Defendant
Pension Plan is also administered from this District.

JURY TRIAL
5. Plaintiffs demand a trial by jury under the United States Constitution,

Fed.R.Civ.P. 38(a), the federal Age Discrimination in Employment Act of 1967, 29

U.S.C. § 626(c), and the New Jersey Law Against Discrimination.

 
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THE PARTIES

6. Plaintiffs are management employees of AT&T who were participants in
the AT&T Management Pension Plan as of December 31, 1996. The Plaintiffs
reside at the addresses given above. Plaintiff Phillip Engers was born in October
1948 and is currently age 50. Warren McFall was born in August 1938 and is
currently age 60. Donald Noerr was born in March 1942 and is currently age 57.
Gerald Smit was born in June 1950 and is currently age 49. The members of the
proposed class reside throughout the United States and in foreign countries and on
information and belief number in the tens of thousands.

7. On information and belief, Defendant AT&T Corp. (““AT&T) is a business
corporation organized and existing under the laws of the State of New York. AT&T
is qualified to do business in New Jersey and does business in New Jersey.

8. Defendant AT&T is an “employer” within the meaning of the Age
Discrimination in Employment Act of 1967 as amended and the Employee
Retirement Income Security Act of 1974 as amended.

9, Defendant AT&T Management Pension Plan (the "Plan") is an employee
benefit plan, as defined at Section 3(3) of ERISA, 29 U.S.C. § 1002(3), and, more
particularly, it is, in pertinent part, an "employee pension benefit plan", as defined at
ERISA Section 3(2)(A), 29 U.S.C. § 1002(2)(A). The administrative offices of the
Defendant Plan are in Morristown, New Jersey.

10. Defendant AT&T functions as the “plan administrator” for the AT&T

Management Pension Plan within the meaning of ERISA. Through the AT&T

 

 
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Employees’ Benefit Committee, Defendant AT&T functions as a fiduciary for the
AT&T Management Pension Plan within the meaning of ERISA.
CLASS ACTION ALLEGATIONS

11. Plaintiffs bring this action as a class action in accordance with Federal
Rule of Civil Procedure 23 to resolve disputes under the Employee Retirement
Income Security Act of 1974 as amended and under the Age Discrimination in
Employment Act of 1967 as amended. Judicial economy dictates resolving all issues
as a single action in accordance with Federal Rule of Civil Procedure 23(b).

12. Plaintiffs bring this action as a class action on behalf of AT&T
management employees who have participated in the AT&T Management Pension
Plan. The proposed class is defined as any and all persons who:

1. Are former or current AT&T management employees,

2. Are currently over age 40,

3. Participated in the AT&T Management Pension Plan on December 31, 1996
and on or after the January 1, 1998 date on which the Pension Plan was
converted to a cash balance design.

The proposed class covers all participants in the AT&T Management Pension Plan
currently over age 40 and who have not earned or will not earn any additional
pension benefits from one or more years of employment under AT&T’s new cash
balance pension plan.

13. On information and belief, the proposed class numbers in the tens of

thousands and is so numerous that joinder of all members is impracticable.

14. There are common questions of law and fact affecting the rights of

 
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Plaintiffs as employees of Defendant. The claims of the named class representatives
are typical of the claims of the class. The named class representatives are all
members of the class and will fairly and adequately protect the interests of the class.
This action is best maintainable as a class action because Defendant has acted and/or
refused to act on grounds generally applicable to the class the Plaintiffs represent,
thereby making appropriate final injunctive and other equitable relief in favor of
Plaintiffs and the class. In addition, the prosecution of separate actions by individual
members of the class would create a risk of inconsistent or varying adjudication that
would establish incompatible standards of conduct for Defendant.

15. | With respect to the classwide claims for monetary relief under the Age
Discrimination in Employment Act, the ADEA requires that members of the
proposed class affirmatively opt into the suit after notice is given. 29 U.S.C. §
626(b) (incorporating by reference 29 U.S.C. § 216(b) of the Fair Labor Standards
Act); see Lusardi v. Xerox Corp., 99 F.R.D. 89, 91-93 (D.N.J. 1983).

STATEMENT OF FACTS

16. AT&T established the AT&T Management Pension Plan in October 1980
as a system-wide defined benefit plan for AT&T employees (up to the end of 1983
the plan’s name was the “Bell System Management Pension Plan”). Before 1980,
AT&T and the former Bell Operating Companies had each sponsored separate
pension plans. The establishment of the AT&T Management Pension Plan
consolidated and unified those pension plans. Since its establishment, the AT&T

Management Pension Plan has offered participants annuities at retirement

 

 
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determined under a formula based on years of participation in the plan, times a
percentage of compensation in a specified pay base averaging period (the "old"
formula).

17. On information and belief, AT&T stopped accruing benefits under the
previous Plan formula effective December 31, 1996, for certain purposes and
effective July 31, 1997, for other purposes. -

18. On November 10, 1997, AT&T distributed a brochure to Plan participants
announcing a change in its benefit formula to a new formula known as a "cash
balance" formula (the "cash balance formula" or features).

19. Pursuant to the "cash balance” formula, participants were assigned initial
Cash Balance Accounts. The initial Cash Balance Accounts set up for participants
were far less than the value of the accumulated annuities earned under the "old"
formula. The Cash Balance Accounts are hypothetical accounts, that is, separate
individual accounts have not actually been set up for each participant as with a
401(k) or other defined contribution plan that are equal in total to the plan’s assets.

20. AT&T nominally credits the hypothetical Cash Balance Account of each
participant with two components on an annual basis. The first is a percentage of a
participant's salary referred to as the "pay credit." The second component is interest
on the participant’s hypothetical Account Balance which, after a short-term

introductory rate of 7%, will compound at the rate of 4% until payment of pension

benefits, whether a participant continues in AT&T's employment or not.

 
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21. The new formula effects two changes that may not be obvious on its face.
The first is that retirement benefits are now based on year-by-year compensation
rather than average compensation in a final pay base averaging period. A second
change is that undiscounted retirement benefits at age 55 are eliminated. These
changes significantly reduced the rate of future accruals.

22. The brochure that AT&T distributed on November 10, 1997, announcing
the “new” formula did not disclose that the "new" formula masks a reduction in
future benefit accruals.

23. Transition provisions for the cash balance plan provide that participants
are not unconditionally entitled to their hypothetical Cash Balance Accounts, but will
receive the “greater of’ the accumulated pension benefits to which they were already.
eligible or the amount hypothetically calculated for the new Cash Balance Account.
As a result of how the initial Cash Balance Account was calculated and this
transition provision, older employees earn no additional retirement benefits for a
number of years beyond those to which they are already eligible under the defined
benefit plan’s retirement provisions.

24. When AT&T adopted a resolution about the cash balance formula on
April 16, 1997, AT&T knew that employees within 7 years of retirement eligibility
would not earn any additional benefits from the cash balance formula because of the
transition features that AT&T was implementing. AT&T knew that for some older
workers, their cash balance accounts would not “move ahead of the old plan” for 13

years.
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25. The cash balance formula and transition features were designed for AT&T
by Actuarial Sciences Associates (“ASA”). ASA is a benefits consulting firm that
was wholly owned by AT&T until July 1998, at which time AT&T sold it to ASA’s
management and employees. In a November 1998 article in the publication
Compensation and Benefits Review, Michael J. Gulotta, president of ASA, and
Harold W. Burlingame, AT&T’s executive vice-president for Human Resources,
explained the benefit calculations for older AT&T employees under the cash balance
feature and transition provisions:

“When 47-year-old mid career employees projected the value of their
annuities - if they were to retire at age 55 - they found they were coming up short

[that is, the benefits under the old plan were greater than the cash balance

account]. They hadn’t miscalculated - this was a feature of the cash balance plan.

“.,.. AT&T encouraged employees to examine the figures beginning at
about age 60 - when cash balance moves ahead of the old plan.”

26. On information and belief, AT&T adopted a resolution in a closed-door
meeting on April 16, 1997, that contained some concepts of the "new" cash balance
feature and transition provisions, but AT&T did not adopt Plan amendments on that
date.

27. As late as February 17, 1999, AT&T stated in a letter to an attorney that
the documentation of the "new" cash balance feature and transition provisions was
not available and that the Plan Document reflecting the "new" cash balance

amendments was still in the process of being prepared.
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FIRST CLAIM FOR RELIEF: Age Discrimination in Pension Benefit Freeze

28. The statements of the previous counts are hereby included as if set forth at
length.

29. The Plaintiffs and the members of the proposed Plaintiff class are over 40
years of age. The Plaintiffs and the members of the proposed Plaintiff class are in
the protected class under the federal Age Discrimination in Employment Act of 1967
as amended and the New Jersey Law Against Discrimination.

30. The Age Discrimination in Employment Act (“ADEA”) prohibits
discrimination against any individual with respect to compensation, including
compensation in the form of pension benefits, because of the individual’s age.

The ADEA does not permit age-based pay differences; “a lower pension for an older
worker is equivalent to a lower salary for the same work.” Quinones v. City of
Evanston, 58 F.3d 275, 278 (7th Cir. 1995).

31. Age discrimination is tested on the basis of the individual’s current
compensation. An employer cannot avoid a finding of age discrimination in current
compensation on the basis that an older worker’s accumulated compensation or
benefits are higher than that of a younger worker.

32. The ADEA’s “bona fide employee benefit plan” exception exempts
certain bona fide employee benefit plans from scrutiny for age discrimination.

33. The “bona fide employee benefit plan” exception only applies where the

actual cost incurred or actual amount of payment made on behalf of an older worker

 
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is not less than that incurred on behalf of a younger person when the tests in 29
C.F.R. 1625.10 are applied.

34. On or about November 1997, AT&T implemented the above-described
cash balance features and transition provisions and informed Plaintiffs that changes
had been made to the pension plan in which they participated. AT&T’s previous
defined benefit plan offered valuable retirement benefits, including undiscounted
early retirement benefits, for eligible employees. Older employees who were eligible
for early retirement had valuable accumulated retirement benefits.

35. In making the transition to the cash balance plan, Defendant AT&T made
changes that freeze the amount of the retirement benefits that Plaintiffs will receive
for many years at the previously accumulated levels.

36. Defendant used a transition formula or design based on age to effectuate
this freeze. No younger, recently hired employee experiences a benefit freeze. All
recently hired, younger employees experience annual increases in their pensions.

37. The transition provisions of the cash balance plan effect the freeze of older
workers’ pensions by providing that participants will receive the “greater of” the
accumulated defined benefits to which the employees were already eligible or the
amount computed under the new cash balance feature.

38. As a result of this transition provision and the low level at which AT&T
set the initial Cash Balance Accounts, older employees earn no additional benefits
for a number of years beyond the benefits to which they were already entitled under

the defined benefit plan’s retirement provisions.

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39, Plaintiffs will realize no increase in the amount of their pensions for seven
or more years. During those years the value of Plaintiffs' pensions will actually
decrease due to the effects of inflation.

40. The “greater of” formulation in the transition provisions discriminates on
the basis of age by providing that older workers who are eligible for early retirement
eam no additional benefits under the cash balance plan in the current year, the near-
term and the long-term. The “greater of’ provision in the transition provisions is a
subterfuge for providing much lower cash balance benefits for older workers than
those provided to younger workers.

41. The transition provisions of AT&T’s cash balance plan can be contrasted
with provisions in which the amounts due under a new cash balance plan start at zero
and add to the accumulated benefits which employees had already earned under the
previous defined benefit plan. AT&T could have avoided discrimination on the
basis of age by providing that older workers would earn additional benefits under the
cash balance plan on the same basis as younger employees and that those benefits
would be added to the accumulated benefits to which they were already eligible.

42. AT&T’s transition provisions are like those involved in cases in which
older employees who were retirement eligible have been denied severance benefits.
The courts have declared this discriminatory practice to be unlawful. In this case,
employees who are retirement eligible have been denied additional current
compensation in the form of additional cash balance benefits because of the “greater

of” formulation in the cash balance plan’s transition rules.

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43. During the years in which the amount of the older workers’ pensions does
not increase, Defendant incurs no cost for Plaintifts pensions while at the same time
Defendant incurs the cost of younger employees’ pensions.

44. Following AT&T’s implementation of the cash balance plan with its
transition provisions, the actual costs incurred on behalf of older workers are less
than those incurred on behalf of younger persons when the test in 29 C.F.R. 1625.10
1s applied. The actual payments made to older workers under the new cash balance
plan are also less than those incurred on behalf of younger persons.

45. In designing the transition provisions from the old pension plan to the new
cash balance plan, Defendant deliberately treated Plaintiffs differently because of
age.

46.  Defendant’s actions discriminate against Plaintiffs because of age in
violation of the Age Discrimination in Employment Act, 29 U.S.C. § 623(a) and 29
U.S.C. § 626(b). Defendant’s actions also discriminate against Plaintiffs in violation
of the New Jersey Law Against Discrimination.

47. As required by 29 U.S.C. § 626(d), a representative of the class filed a
timely charge of age discrimination on February 9, 1998, on behalf of himself and
other workers in the protected age group with the Equal Employment Opportunity
Commission more than 60 days prior to commencement of this action. The EEOC
was not able to resolve the controversy and issued a letter to the Plaintiff dated May
18, 1998 and received May 20, 1998, advising that it was unable to resolve the

controversy as described and that a lawsuit may be filed against the respondent

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within 90 days from receipt of the notice. Plaintiffs filed this action on a timely
basis on August 5, 1998,

SECOND CLAIM FOR RELIEF: Age Discrimination in Contingent Payment
of New Cash Balance Benefits Based on Previously Accumulated Pensions

48. The statements of the previous counts are hereby included as if set forth at
length.

49. As previously stated, on or about November 10, 1997 Defendant informed
Plaintiffs that changes had been made to the pension plan. Among the changes
Defendant purported to make was to set up Cash Balance Accounts for each
employee.

50. The Cash Balance Account was set at an amount far less than the actuarial
equivalent of the previous accumulated pension.

51. Defendant purport to make periodic additions to the cash balance account,
but receipt of those additions is contingent on the amount of the participant’s
accumulated pension benefits under the prior defined benefit plan being less than the
Cash Balance Account.

52. Defendant froze benefits under the previous benefit formula as of
December 31, 1996, for certain purposes and effective July 31, 1997, for other
purposes. According to the transition provisions of the cash balance pension plan,
Plaintiffs can take the greater of the accumulated frozen benefits or the Cash Balance

Account on retirement, but not both.

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53. Because AT&T has set the initial Cash Balance Accounts at a low value, it
takes many years for the cash balance to move ahead of the value of the Plaintiffs’
accumulated pension benefits before the changes. Because of the contingency in the
“greater of” formulation, Plaintiffs are entitled to no cash balance benefits for seven
or more years.

54. Younger, newly hired employees are entitled to receive benefits from the
new cash balance pension plan without contingency.

55. Defendant has deliberately treated Plaintiffs differently because of-age.

56. During the years in which cash balance benefits are contingent on the
“greater of” formulation, Defendant incurs no cost for Plaintiffs’ pensions while at
the same time Defendant incurs costs for the younger employees’ pensions.

37.  Defendant’s actions discriminate against Plaintiffs due to age under the
Age Discrimination in Employment Act of 1967 as amended and the New Jersey
Law Against Discrimination.

THIRD CLAIM FOR RELIEF: Improper, Untimely and Inadequate ERISA
Section 204(h) Notice

58. Asalleged above, AT&T had not adopted actual Plan amendments
containing the cash balance feature and transition provisions before November 10, |
1997, or even before February 17, 1999. AT&T implemented the "new" cash
balance feature and transition provisions effective January 1, 1997. AT&T has to
date not notified Plan participants of a significant reduction in the rate of future

accruals.

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59. By implementing the reduction before adoption of the actual amendments
and without providing notice of a significant reduction in the future rate of accruals
at least 15 days before the amendments’ effective date, AT&T violates ERISA
Section 204(h), 29 U.S.C. § 1054(h), which requires that adoption of the
amendments precede notice and that notice of the reduction precede implementation
by at least 15 days.

60. Under Third Circuit precedent, exhaustion of claims procedures is not
required for statutory ERISA claims. Exhaustion is, moreover, futile in this case
because correspondence with the Plaintiffs and AT&T’s Answer maintains that its
cash balance plan does not violate the law. A May 29, 1998 letter from Brian M.
Byrnes, the AT&T official responsible for “pension matters,” states “there is nothing
further to discuss .... [T]his letter concludes the Company’s contact with you on this
subject outside of any legal process you may determine to undertake.” Thus, even if
Plaintiffs’ claim was not a statutory ERISA claim, it would be futile to file an
internal claim with company officers whose position is already staked out.

FOURTH CLAIM FOR RELIEF: Failure to Maintain Plan Pursuant to
Written Instrument

61. By implementing the "new" cash balance formula without a written Plan
Document, AT&T violated ERISA Section 402, 29 U.S.C. § 1102 ("Establishment of
plan"), which requires that "[e]very employee benefit plan shall be established and

maintained pursuant to a written instrument."

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FIFTH CLAIM FOR RELIEF: Breach of Fiduciary Duty
62. By implementing the "new" cash balance formula without a written Plan
Document, AT&T violated ERISA Section 404, 29 U.S.C. § 1104 ("Fiduciary
duties"), which requires, in pertinent part, that "a fiduciary shall discharge his duties
with respect to a plan solely in the interest of the participants and beneficiaries and ...
| (D) in accordance with the documents and instruments governing the plan ...."
SIXTH CLAIM FOR RELIEF: Misleading Summary Plan Description
63. On information and belief, AT&T distributed a Summary Plan Description
("SPD") of the Plan, as amended by the "new" cash balance feature and transition
provisions, in 1998 to some employees. The SPD, however, does not disclose that
the "new" features:
(a) significantly reduce the rate of future benefit accruals;
(b) cause older participants to earn no additional benefits beyond those
already earned;
(c) use conversion factors to compute the initial Cash Balance that are not
based on the most valuable annuity offered under the "old" formula;
(d) base benefits on year-by-year salary, whereas the "old" formula based
them on compensation in a final pay base averaging period; and
(e) do not offer undiscounted retirement benefits at age 55.
In addition, illustrative examples in the SPD intentionally omit comparisons of
benefits under the "old" and the "new" formulas.

64. AT&T's SPD is not “written in a manner calculated to be understood by

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the average plan participant,” and is not "sufficiently accurate and comprehensive to
reasonably apprise such participants and beneficiaries of their rights and obligations
under the plan," in violation of Section 102 of ERISA, 29 U.S.C. § 1022,

65. AT&T’s SPD was also not distributed to employees in a manner
reasonably calculated to ensure actual receipt by the employees. The Plaintiffs did
not receive the aforementioned SPD until AT&T filed the same as an exhibit in this
action in December 1998.

SEVENTH CLAIM FOR RELIEF: Breach of Fiduciary Duty to Keep
Beneficiaries Informed

66. AT&T's failure to disclose and its deceptive or uninformative disclosures
to Plan participants and beneficiaries of the disadvantages of the "new" cash balance
features and transition provisions, compared to the "old" defined benefit plan, do not
comply with its fiduciary duties to keep trust beneficiaries fully informed, in
violation of ERISA Section 404, 29 U.S.C. § 1104.

EIGHTH CLAIM FOR RELIEF: Intentional Interference with
Attainment of Benefits

67. Defendant intentionally designed the comparison of the participant’s Cash
Balance Account with his or her previously accumulated retirement benefits and the
contingent payment of only the “greater of” the two benefits to avoid payment of
additional retirement benefits to older workers for many years of employment.

68. Defendant intentionally designed conversion factors for establishing
participants’ hypothetical initial Cash Balance Accounts that have a discriminatory

effect on the attainment of additional retirement benefits by older workers.

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69. Defendant’s transition provisions for contingent payment of the Cash
Balance Accounts are part of a scheme to avoid the payment of benefits to older
workers for many years of employment.

70. Defendant violated ERISA Section 510, 29 U.S.C. $1 140, by
intentionally interfering with the attainment of benefits by older workers under the
Cash Balance pension plan.

NINTH CLAIM FOR RELIEF: Decreases in Accrual Rates Based on Age

71. Accumulated interest credits under a cash balance pension plan are greater
for younger participants due to the effect of compound interest until retirement.
Unless the pay credit in a cash balance plan is commensurately age-weighted, the
rate of accrual decreases with age. ERISA Section 204(b)(1)(H)(i), 29 U.S.C. §
1054(b)(1)(H)(1), prohibits reductions in the rate of accrual "because of the
attamment of any age." The same prohibition is contained in ADEA Section
4(i)(1 (A), 29 U.S.C. § 623(i)(1)(A).

72. AT&T’s Cash Balance formula increases the pay credit at five-year
intervals, from a minimum of 3% of salary for participants under age 30, to a
maximum of 10% of salary for participants 55 years of age and older.

73. While the age-weighted pay credits in the "new" formula somewhat
mitigate age discrimination in the rate of accrual, they do not eliminate it. Although
the pay credit increases with age, it increases only at five-year intervals from age 30
to age 55, and not at all after age 55. Thus, participants over 55 years of age

experience decreases in their rate of benefits accrual every year until they retire.

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Similarly, because the pay credit increases only at five-year intervals between ages
40 and 55, plaintiffs and other class members experience yearly reductions in their
rates of accrual at ages 41-44, 46-49, and 51-54.

74. Such reductions in the rate of accrual because of age violate ERISA and
the ADEA. AT&T’s reductions in the rate of accrual because of age were knowing
and intentional.

STATEMENT OF ADDITIONAL FACTS

75. On October 16, 2000, AT&T amended and restated the AT&T
Management Pension Plan document to include Cash Balance Accounts and related
provisions. Hereafter, the amended and restated Plan document is referred to as the
“amended Plan document.”

76, The amended Plan document contains rules that were not in the preceding
Plan document or any amendment adopted by the AT&T Board of Directors or a
duly-authorized delegate before October 16, 2000. For example, the rules contained
in Section 4.06(a)(ii) on “Payment of Pensions” were not in the preceding Plan
document or any amendment adopted by the AT&T Board of Directors or a duly
authorized delegate prior to October 16, 2000.

77. Under both the preceding Plan document and the amended Plan document,
the normal retirement age for the AT&T Management Pension Plan is generally
defined as age 65. Upon information and belief, over 90% of AT&T’s management

employees are retired before age 65.

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78. Ina section entitled “Cash Balance Accounts,” Section 4.04(e)(i) of the
amended Plan document provides that the Accrued Benefit derived from the Cash
Balance Account for a participant who has attained normal retirement age will equal
“the participant’s Cash Balance Account (as of the last day of the month...
preceding the date on which the Accrued Benefit is being determined), divided by
the appropriate factor in [Appendix] Section B.02, based on the participant’s attained
age.”

79. For participants who have not attained the normal retirement age, Section
4.04(e)(11) of the amended Plan document provides that the Accrued Benefit derived
from the Cash Balance Account “‘shall be determined by projecting the Participant’s
Cash Balance Account .. . to the Participant’s Normal Retirement Age, and dividing .
_. by the appropriate factor in [Appendix] Section B.02, based on the Participant’s.
attained age.”

80. Pursuant to ERISA section 204(g), 29 U.S.C. § 1054(g), the AT&T
Management Pension Plan may not be amended to reduce benefits earned under the
Plan’s pre-existing pay base formulas. Under the title “Pay Base Formulas,” Section
4.05 of the amended Plan document preserves the pay base formulas that were
applicable under the preceding Plan document, including the Special Update io the
pay base formulas that was effective August 1, 1997.

81. However, in Section 4.06(a)(ii) on “Payment of Pensions,” the amended

Plan document provides that when a benefit is payable “before normal retirement

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age” the “Participant’s pension benefit, payable monthly, for his or her life, equals
the greater of:
(1) the Accrued Benefit derived from his or her Cash Balance Account under
Section 4.04, multiplied by the early commencement factor set forth in
Section B.03 or

(2) the Accrued Benefit determined under the Pay Base Formulas under
Section 4.05, reduced by one half percent for each calendar month or part
thereof by which the Participant’s age at the Pension Commencement Date
is less than fifty-five years...”

82. Pursuant to Section 4.06(a)(ii), payment of the greater of “(1)” or “(2)”
satisfies the Plan’s obligation to pay both the Accrued Benefit determined under the
pre-existing Pay Base Formulas in Section 4.05 for service through August 1, 1997,
and any Accrued Benefits derived from the Cash Balance Account under Section

4.04.

TENTH CLAIM FOR RELIEF: Conditioning payment of vested accrued
benefits on forbearance violates ERISA section 203(a)

83. Toconform with AT&T’s Applications for Determination to the IRS and

the holding in Esden v. Bank of Boston, 229 F.3d 154, 169 (2d Cir. 2000), both the

 

preceding and the amended AT&T Plan documents must comply with the 133%
benefit accrual method in ERISA section 204(b)(1)(B), 29 U.S.C. § 1054(b)(1)(B).
The 133% accrual method requires that defined benefit pension plans, including cash
balance plans, offer “annual rates” of benefit accrual. The annual rates of benefit
accruals in later years of participation can be no more than 133% of the annual rates

in earlier years. See, e.g., Esden, supra, 229 F.3d at 169.

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84. Under Section 4.04 of the amended Plan document, the named plaintiffs
have “annual rates” of benefit accrual for 1998, 1999, 2000, etc. In exhibits attached
to an affidavit AT&T submitted to this Court on November 13, 2000, AT&T

. computed the accrued benefits for the named plaintiffs at the end of each year. For
example, according to AT&T’s computations, named plaintiff Donald Noerr’s
accrued benefits expressed in the form of an annual annuity will increase by $1,218
as a result of his employment in 1999, $1,080 in 2000, and $1,039 in 2001.

85. Section 4.06(a)(1i) of AT&T’s amended Plan document provides,
however, that a plan participant only receives the annual rates of benefit accrual from
his or her Cash Balance Account for 1998, 1999, 2000, and succeeding years if the
participant does not retire before the normal retirement age and receive the ERISA
“protected” pay base formula benefits. This places a condition on receipt of the
accrued benefits derived from the Cash Balance Accounts for 1998, 1999, 2000, etc.

86. For example, under section 4.06(a){ii) of the amended Plan document, the
AT&T Management Pension Plan will not pay, and Donald Noerr will not receive,
any of the accrued benefits that Mr. Noerr earned in 1998, 1999, and succeeding
years if he retires before age 60. Unless Mr. Noerr retires at or after age 65, he will
not receive either the full amount or the actuarially equivalent value of the accrued
benefits that he earns in the years after January 1, 1998. Mr. Noerr’s annual rates of
benefit accruals in the years 1999-2001 are set out in the table below along with the
payments that the AT&T Plan will make pursuant to section 4.06(a)(ii) if Mr. Noerr

retires before age 60:

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Year Age Annual Accrual as | Payment on
benefit % of salary | retirement
accrual before 60

1999 57 $1,218 1.62% $0.00

2000 58 $1,080 1.43% $0.00

2001 59 $1,039 1.38% $0.00

 

 

87.  Aright to benefit accruals must be unconditional to satisfy the
nonforfeitability requirements of ERISA Section 203(a), 29 U.S.C. § 1053(a).
Pursuant to the regulations at 26 C.F.R. 1.411(a)-4: “[A] right which, at a particular
time, is conditioned under the plan upon. . . subsequent forbearance which will
cause loss of such right is a forfeitable right at that time.” IRS Notice 96-8, 1996-1
C.B. 359, explains:

“If benefits... have accrued [but] those benefits are disregarded when benefits

commence before normal retirement age, the plan has effectively conditioned

entitlement to the benefits . . . on the employee not taking a distribution prior to
normal retirement age.”
Accord Esden v. Bank of Boston, supra, 229 F.3d at 157 and 168 (“because Plaintiff
received less than she would have had she not elected to take her [cash balance]
benefit in the form of a lump sum, part of her pension benefit was made conditional
on the option chosen, in violation of the anti-forfeiture provisions of ERISA §203(a),
LR.C. §411(a)(2) and Treas. Reg. 1.411(a)(4)”).

88. The amended Plan document conditions entitlement to the accrued

benefits derived from the participant’s Cash Balance Account on the participant not

retiring before the normal retirement age and receiving a distribution of his or her

ERISA protected benefits. Under the amended Plan document, the right to the cash

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balance benefit accruals is not unconditional as required by ERISA Section 203(a),
29 U.S.C. § 1053(a).

ELEVENTH CLAIM FOR RELIEF: Conditioning receipt of the actuarial
yalue of vested accrued benefits violates ERISA Section 204(c)(3)

89. ERISA section 204(c}(3), 29 U.S.C. § 1054(c)(3), provides that “if an
employee’s accrued benefit is to be determined as an amount other than an annual
benefit commencing at normal retirement age, .. . the employee’s accrued benefit . .
. Shall be the actuarial equivalent of such benefit.”

90. Section 4.04(e) of AT&T’s amended Plan document provides a method for
determining the accrued benefits derived from plan participants’ Cash Balance
Accounts at both normal and early retirement ages. In conjunction with the early
commencement factors set forth in Appendix Section B.03, this section offers
“annual rates” of benefit accrual as required by ERISA’s 133% rule and potentially
satisfies the actuarially equivalent value requirement in ERISA section 204(c)(3).

91. However, Section 4.06(a){ii) on “Payment of Pensions” adds a restriction
on the payment of accrued benefits that negates the potential for compliance.
Section 4.06(a)(i1} provides that participants who retire before the normal retirement
age and receive ERISA-protected benefits will not receive the actuarial value of the
annual retirement benefits that they accrued in their Cash Balance Accounts in 1998,
1999, 2000, etc. Section 4.06(a)(ii) violates ERISA Section 204(c)(3) because it

deprives participants who retire before the normal retirement age of the actuarial

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value of their cash balance benefit accruals in 1998, 1999, 2000, and succeeding

years.

TWELFTH CLAIM FOR RELIEF: Reducing “protected” benefits by 6% per
year for commencement before age 55 violates ERISA section 204(g)

92. Section 4.06(a)(ii) of the amended Plan document provides that ERISA-
protected early retirement benefits will be reduced by “one half percent” per month,
or 6% per year, for commencement before age 55— unless the participant has over 30
years of service (in which case the reduction is one quarter percent per month).

93. The reduction of a protected age 55 annuity by 6% per year for
commencement prior to age 55 is in excess of a reasonable actuarial reduction. By
comparison, the reduction factors set forth in Sections 4,06(a)(i1) and B.03 of the
amended Plan document for annuities derived from the Cash Balance Accounts are
3.8% per year for the 10 years before age 55, and 2.65% per year for the next 10
years. A 6% reduction per year of an age 55 annuity means that the “protected”
annuity is reduced to nothing if the participant is age 38 (16.6 years x 6% = 100%).
At age 40, the ERISA-protected annuity is reduced to 10% of the protected amount —
when a reasonable actuarial reduction would be about 50%.

94. Through the 6% per annum reduction to the protected annuity amounts,
AT&T has adopted a plan provision under which participants lose or forfeit their
ERISA-protected annuities. This violates ERISA Section 204(g), 29 U.S.C. §
1054(g). An amendment to a plan violates the statutory protection if it creates a new

circumstance in which the value of the protected benefits is lost or forfeited. 26

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C.F.R. 1.411(d)-4, Q&A 7; Esden v. Bank of Boston, supra, 229 F.3d at 168
(“because Plaintiff received less than she would have had she not elected to take her
benefit in the form of a lump sum, part of her pension benefit was made conditional
on the option chosen”; finding it “similarly unpersuasive” that the participant
“elected” a forfeiture).
PRAYER FOR RELIEF ON ADEA CLAIMS
WHEREAS, the Plaintiffs prays that this Court:
A. Find and conclude that Defendant AT&T has violated the Age
Discrimination Act and the New Jersey Law Against Discrimination by age-
based transition rules for the computation and payment of cash balance benefits.
B. Order Defendant to pay the cash balance pay credits and interest with no
contingency on receipt based on the pension benefits the Plaintiffs and other
older workers have previously accumulated.
C. Order Defendant to implement cash balance pay credits and interest
credits that do not produce a decrease in the rate of accrual because of age.
D. Order Defendant to pay the Plaintiffs additional amounts equa! to the
shortfall in benefits produced by the contingent transition provisions in the cash
balance plan and the decreases in the rate of accrual because of age as liquidated
damages under the Age Discrimination in Employment Act.
E. Order Defendant to pay the Plaintiffs interest, attorneys’ fees and

expenses.

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F, Order Defendant to pay the Plaintiffs punitive damages under the New
Jersey Law Against Discrimination.
G. — Award such other legal and equitable relief as the Court may deem
appropriate.

PRAYER FOR RELIEF ON ERISA CLAIMS
WHEREAS, the Plaintiffs pray that this Court:
A. Declare that AT&T's implementation of the "new" formula violates the
15-day advance notice rule in ERISA Section 204(h), 29 U.S.C. § 1054(h); the
Plan document requirement in ERISA Section 402, 29 U.S.C. § 1102; the
fiduciary duties to act in accordance with the Plan document and keep
beneficiaries informed in ERISA Section 404, 29 U.S.C. § 1104, and the
Summary Plan Description rules in ERISA Sections 102 and 104(b)(1), 29
U.S.C. §§ 1022 and 1024(b)(1).
B. Declare that due to AT&T's failure to provide the required ERISA Plan
documents and notices, the reduction in the rate of future accruals under the
"cash balance" features has not become effective to date, and will not become
effective until AT&T complies with the ERISA Section 204(h) notice
requirements.
C. Declare that AT&T’s transition provisions for contingent payment of the
Cash Balance Accounts violate the prohibition on interference with the

attainment of benefits in ERISA Section 510, 29 U.S.C. § 1140.

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D. Declare that the terms of the Defendant Pension Plan, as amended by the
"new" cash balance feature, violate the nonforfeitability standards in ERISA
Section 203(a), 29 U.S.C. § 1053(a), and ERISA Section 204(c)(3), 29 U.S.C. §
1054(c)(3), and the prohibitions in ERISA Section 204(g), 29 U.S.C. § 1054(g)
and Section 204(b)(1)(H)(i), 29 U.S.C. § 1054(b)(1)(H)(i), against reductions in
accrued benefits because of amendments to the plan and against reductions in the
rate of benefit accrual because of age.
E. Order that if and when AT&T takes the lawful steps to make cash balance
features effective, there must be no reductions in protected accrued benefits, no
age-based decreases in rates of accruals, and receipt of the cash balance plan’s
annual pay credits and interest may not be contingent on the participant’s
previous accumulated benefits.
F. Order that AT&T’s SPD fully disclose all features of the cash balance plan
described above that are not reformed by the Court’s Order.
G. Order the Defendants to pay interest, attorneys’ fees and expenses.
H. Award such other equitable and remedial relief as the Court may deem
appropriate.

Respectfully submitted,

SEM Upc.

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

PHILLIP C. ENGERS, WARREN J. MCFALL :
DONALD G. NOERR, and GERALD SMIT,
individually and on behalf of all others

similarly situated,

Plaintiffs,

VS. Civil Action No. 98-CV-3660 (NHP)
AT&T and AT&T MANAGEMENT . CERTIFICATE OF SERVICE
PENSION PLAN,

Defendants.

 

[hereby certify that Plaintiffs’ Third Amended Complaint and Demand for Jury
Tnial was this 28th day of November 2001, served by sending a copy by Federal
Express, next day delivery, to the attorneys for the Defendants, addressed to:

Christopher H. Mills
Patricia 8. Robinson
Patricia A. Cullen
Collier, Jacob & Mills
580 Howard Avenue
Somerset, NJ 08873

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